         Case 1:19-cv-10738-NMG Document 12 Filed 06/17/19 Page 1 of 17



                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

                                   )
BOISE CASCADE COMPANY,             )
                                   )
                     Plaintiff,    )
                                   )
              v.                   )
                                   )                         Case No.: 1:19-cv-10738-NMG
                                   )
NEW ENGLAND TREATMENT ACCESS, LLC, )
                                   )                         ANSWER OF DEFENDANT
                                   )
                     Defendant.    )
                                   )

     DEFENDANT’S ANSWER TO COMPLAINT AND AFFIRMATIVE DEFENSES

Defendant New England Treatment Access, LLC (“NETA”) by and through its attorneys, an-

swers Plaintiff Boise Cascade Company’s (“Boise”) Complaint and alleges its affirmative de-

fenses as follows. NETA denies all allegations contained in section headings or other portions of

the Complaint that are not contained within the specifically numbered paragraphs of the Com-

plaint. Unless otherwise specifically noted, NETA lacks knowledge or information sufficient to

admit or deny the truth of allegations concerning persons other than itself. To the extent that the

Complaint contains such allegations concerning other persons, NETA denies that they support

any claim for relief against NETA. NETA objects to responding to any legal conclusions con-

tained within the Complaint.

                                  NATURE OF THE ACTION

        1.     NETA denies that any violation of the Lanham Act, 15 U.S.C. §§ 1114, 1125(a),

occurred or that any violations of trademark infringement under any federal and state common

law occurred, denies that any actions whatsoever of NETA amount to injury to business reputa-



                                                 1
B5005477.1
         Case 1:19-cv-10738-NMG Document 12 Filed 06/17/19 Page 2 of 17




tion or dilution under Massachusetts General Laws, Chapter 110H, § 13, and denies any viola-

tion of unfair trade practices under Massachusetts General Laws, Chapter 93A, §§ 2, 11.


                                             PARTIES

        2. In response to paragraph 2 of the Complaint, NETA is without sufficient knowledge

or information to form a belief as to the truth of these allegations, and on this basis denies the

allegations.

        3.     In response to paragraph 3 of the Complaint, NETA is without sufficient knowledge

or information to form a belief as to the truth of these allegations, and on this basis denies the

allegations.

        4. In response to paragraph 4 of the Complaint, NETA admits the allegations of the

Complaint.

        5. In response to Paragraph 5 of the Complaint, NETA denies that it has “two physical

retail locations” at the addresses listed in the Complaint but admits that it has one physical retail

location at 160 Washington St. Brookline, Massachusetts.


                                 JURISDICTION AND VENUE

        6. In response to paragraph 6 of the Complaint, NETA admits this Court has jurisdic-

tion over the causes of action indicated in this Paragraph.

        7. In response to paragraph 7 of the Complaint, NETA admits the Court has personal

jurisdiction over Defendant but denies that it has two physical retail locations and denies that

any infringing activities have occurred or are presently occurring in Massachusetts or elsewhere.

        8. In response to paragraph 8 of the Complaint, NETA admits that venue in this district

is proper. NETA denies the remainder of the allegations in paragraph 8 of the Complaint.




                                                  2
B5005477.1
         Case 1:19-cv-10738-NMG Document 12 Filed 06/17/19 Page 3 of 17



                                         BACKGROUND


        9. In response to paragraph 9 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        10. In response to paragraph 10 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        11. In response to paragraph 11 of the Complaint, NETA is without sufficient knowledge
or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        12. In response to paragraph 12 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        13. In response to paragraph 13 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        14. In response to paragraph 14 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis
denies the allegations.

        15. In response to paragraph 15 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        16. In response to paragraph 16 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.




                                                  3
B5005477.1
         Case 1:19-cv-10738-NMG Document 12 Filed 06/17/19 Page 4 of 17




        17. In response to paragraph 17 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        18. In response to paragraph 18 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        19. In response to paragraph 19 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis
denies the allegations.

        20. In response to paragraph 20 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        21. In response to paragraph 21 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        22. In response to paragraph 22 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        23. In response to paragraph 23 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        24. In response to paragraph 24 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        25. In response to paragraph 25 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.
                                                  4
B5005477.1
         Case 1:19-cv-10738-NMG Document 12 Filed 06/17/19 Page 5 of 17




        26. In response to paragraph 26 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        27. In response to paragraph 27 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        28. In response to paragraph 28 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis
denies the allegations.

        29. In response to paragraph 29 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        30. In response to paragraph 30 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        31. In response to paragraph 31 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        32. In response to paragraph 32 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        33. In response to paragraph 33 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        34. In response to paragraph 34 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.
                                                  5
B5005477.1
         Case 1:19-cv-10738-NMG Document 12 Filed 06/17/19 Page 6 of 17




        35. In response to paragraph 35 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        36. In response to paragraph 36 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        37. In response to paragraph 37 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis
denies the allegations.

        38. In response to paragraph 38 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        39. In response to paragraph 39 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        40. In response to paragraph 40 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        41. In response to paragraph 41 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        42. In response to paragraph 42 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        43. In response to paragraph 43 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.
                                                  6
B5005477.1
           Case 1:19-cv-10738-NMG Document 12 Filed 06/17/19 Page 7 of 17




          44. In response to paragraph 44 of the Complaint, NETA admits it is in the cannabis in-

dustry.

          45. In response to paragraph 45 of the Complaint, NETA admits it has two locations in

Massachusetts: one in Brookline and one in Northampton, Massachusetts.

          46. In response to paragraph 46 of the Complaint, NETA admits that New England

Treatment Access, Inc., a Massachusetts non-profit corporation, was formed in 2013 and in

2018 converted into a domestic profit corporation, New England Treatment Access, Inc., which

in 2018 converted into Defendant NETA.
          47. In response to paragraph 47 of the Complaint, NETA admits it promotes some of its

products and services under the tree design mark shown in the left-hand column in the chart

provided in the Complaint (the “NETA Tree Design Logo”) but denies that the logo is confus-

ingly similar.

          48. In response to paragraph 48 of the Complaint, NETA admits the NETA Tree Design

Logo is prominently displayed on its website and on its cannabis products as shown in the

Complaint but denies that the green is “nearly identical” to the alleged Boise Cascade Tree-in-a-

Circle trademark alleged in the Complaint.

          49. In response to paragraph 49 of the Complaint, NETA denies the allegation.

          50. In response to paragraph 50 of the Complaint, NETA admits it is not affiliated with

or sponsored by Boise and denies the remaining allegations on the basis that, among other

things, NETA is not using, and has not made any use of, the alleged Boise Cascade Tree-in-a-

Circle trademarks and on that basis, no authorization has been sought or provided. Other than as

specifically admitted herein, NETA denies the allegation.

          51. In response to paragraph 51 of the Complaint, NETA denies this allegation both as to

any alleged rights in the Tree-in-a-Circle trademarks and as to NETA’s notice or knowledge of

the alleged rights.




                                                  7
B5005477.1
         Case 1:19-cv-10738-NMG Document 12 Filed 06/17/19 Page 8 of 17




        52. In response to paragraph 52 of the Complaint, NETA is without sufficient knowledge

or information at this time as to the location of Boise’s customers, Boise’s distribution facilities,

or Boise’s distribution route, and on this basis denies the allegations.

        53. NETA denies the allegations in paragraph 53 of the Complaint.

        54. NETA denies the allegations in paragraph 54 of the Complaint.

        55. NETA denies the allegations in paragraph 55 of the Complaint.

        56. NETA denies the allegations in paragraph 56 of the Complaint.

        57. NETA denies the allegations in paragraph 57 of the Complaint.
        58. NETA denies the allegations in paragraph 58 of the Complaint.

      COUNT I: FEDERAL TRADEMARK INFRINGEMENT (15 U.S.C. § 1114(a))

        59. NETA is not required to admit or deny the allegations of paragraph 59 of the Com-

plaint as all prior allegations have been addressed.

        60. In response to paragraph 60 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        61. In response to paragraph 61 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        62. In response to paragraph 62 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        63. In response to paragraph 63 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        64. NETA denies the allegations in paragraph 64 of the Complaint.



                                                  8
B5005477.1
         Case 1:19-cv-10738-NMG Document 12 Filed 06/17/19 Page 9 of 17




        65. In response to paragraph 65 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        66. In response to paragraph 66 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        67. In response to paragraph 67 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis
denies the allegations.

        68. In response to paragraph 68 of the Complaint, NETA admits it and/or its predeces-

sors began using the NETA Tree Design Logo at least as early as 2015, but denies the remaining

allegations.

        69. In response to paragraph 69 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        70. NETA denies the allegations in paragraph 70 of the Complaint.

        71. In response to paragraph 71 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        72. NETA denies the allegations in paragraph 72 of the Complaint.

        73. In response to paragraph 73 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        74. In response to paragraph 74 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        75. NETA denies the allegations in paragraph 75 of the Complaint.
                                                  9
B5005477.1
        Case 1:19-cv-10738-NMG Document 12 Filed 06/17/19 Page 10 of 17




        76. NETA denies the allegations in paragraph 76 of the Complaint.

        77. NETA denies the allegations in paragraph 77 of the Complaint.

        78. NETA denies the allegations in paragraph 78 of the Complaint.

        79. NETA denies the allegations in paragraph 79 of the Complaint.

        80. NETA denies the allegations in paragraph 80 of the Complaint.

        81. NETA denies the allegations in paragraph 81 of the Complaint.

             COUNT II: FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

        82. NETA is not required to admit or deny the allegations of paragraph 82 of the Com-

plaint as all prior allegations have been addressed.

        83. NETA denies the allegations in paragraph 83 of the Complaint.

        84. NETA denies the allegations in paragraph 84 of the Complaint.

        85. NETA denies the allegations in paragraph 85 of the Complaint.

        86. NETA denies the allegations in paragraph 86 of the Complaint.

        87. NETA denies the allegations in paragraph 87 of the Complaint.

        88. NETA denies the allegations in paragraph 88 of the Complaint.

               COUNT III: COMMON LAW TRADEMARK INFRINGEMENT


        89. NETA is not required to admit or deny the allegations of paragraph 89 of the Com-
plaint as all prior allegations have been addressed.

        90. In response to paragraph 90 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        91. In response to paragraph 91 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.



                                                  10
B5005477.1
        Case 1:19-cv-10738-NMG Document 12 Filed 06/17/19 Page 11 of 17




        92. In response to paragraph 92 of the Complaint, NETA is without sufficient knowledge

or information at this time to form a belief as to the truth of these allegations, and on this basis

denies the allegations.

        93. NETA denies the allegations in paragraph 93 of the Complaint.

        94. NETA denies the allegations in paragraph 94 of the Complaint.

        95. NETA denies the allegations in paragraph 95 of the Complaint.

        96. NETA denies the allegations in paragraph 96 of the Complaint.

        97. NETA denies the allegations in paragraph 97 of the Complaint.
        98. NETA denies the allegations in paragraph 98 of the Complaint.

                   COUNT IV: INJURY TO BUSINESS REPUTATION
                  UNDER MASSACHUSETTS LAW (M.G.L. c. 110H, § 13)

        99. NETA is not required to admit or deny the allegations of paragraph 99 of the Com-

plaint as all prior allegations have been addressed.

        100.   In response to paragraph 100 of the Complaint, NETA is without sufficient

knowledge or information at this time to form a belief as to the truth of these allegations, and on

this basis denies the allegations.

        101.   In response to paragraph 101 of the Complaint, NETA is without sufficient

knowledge or information at this time to form a belief as to the truth of these allegations, and on
this basis denies the allegations.

        102.   In response to paragraph 102 of the Complaint, NETA is without sufficient

knowledge or information at this time to form a belief as to the truth of these allegations, and on

this basis denies the allegations.

        103.   In response to paragraph 103 of the Complaint, NETA is without sufficient

knowledge or information at this time to form a belief as to the truth of these allegations, and on

this basis denies the allegations.

        104.   NETA denies the allegations in paragraph 104 of the Complaint.

                                                  11
B5005477.1
        Case 1:19-cv-10738-NMG Document 12 Filed 06/17/19 Page 12 of 17




        105.   NETA denies the allegations in paragraph 105 of the Complaint.

        106.   NETA denies the allegations in paragraph 106 of the Complaint.

                             COUNT V: DILUTION
                  UNDER MASSACHUSETTS LAW (M.G.L. c. 110H, § 13)

        107.   NETA is not required to admit or deny the allegations of paragraph 107 of the

Complaint as all prior allegations have been addressed.

        108.   In response to paragraph 108 of the Complaint, NETA is without sufficient

knowledge or information at this time to form a belief as to the truth of these allegations, and on

this basis denies the allegations.

        109.   In response to paragraph 109 of the Complaint, NETA is without sufficient

knowledge or information at this time to form a belief as to the truth of these allegations, and on

this basis denies the allegations.

        110.   In response to paragraph 110 of the Complaint, NETA is without sufficient

knowledge or information at this time to form a belief as to the truth of these allegations, and on

this basis denies the allegations.

        111.   In response to paragraph 111 of the Complaint, NETA is without sufficient

knowledge or information at this time to form a belief as to the truth of these allegations, and on

this basis denies the allegations.
        112.   NETA denies the allegations in paragraph 112 of the Complaint.

        113.   NETA denies the allegations in paragraph 113 of the Complaint.

        114.   NETA denies the allegations in paragraph 114 of the Complaint.

                       COUNT VI: UNFAIR TRADE PRACTICES
                   UNDER MASSACHUSETTS LAW (M.G.L. c. 93A, § 11)


        115.   NETA is not required to admit or deny the allegations of paragraph 115 of the

Complaint as all prior allegations have been addressed.



                                                12
B5005477.1
        Case 1:19-cv-10738-NMG Document 12 Filed 06/17/19 Page 13 of 17




        116.     In response to paragraph 116 of the Complaint, NETA is without sufficient

knowledge or information at this time to form a belief as to the truth of these allegations, and on

this basis denies the allegations.

        117.     In response to paragraph 117 of the Complaint, NETA is without sufficient

knowledge or information at this time to form a belief as to the truth of these allegations, and on

this basis denies the allegations.

        118.     NETA denies the allegations in paragraph 118 of the Complaint.

        119.     NETA denies the allegations in paragraph 119 of the Complaint.
        120.     NETA denies the allegations in paragraph 120 of the Complaint.

        121.     NETA denies the allegations in paragraph 121 of the Complaint.

                                     DEMAND FOR RELIEF

                          NETA denies that Boise is entitled to any relief.

                                      AFFIRMATIVE DEFENSES
        Without admitting it carries the burden of proof as to any of the issues raised by the fol-
lowing separate and independent defenses, Defendant prays for judgment as set forth below, and
further gives notice that it intends to rely upon such other and further defenses as may become
available during discovery in this action, and reserves the right to amend its Answer to assert any
such defenses. Subject to the foregoing, Defendant hereby asserts the following defenses to the
Complaint as follows.
                               FIRST AFFIRMATIVE DEFENSE
                               (Failure to State A Cause of Action)
        The Complaint, and each and every allegation therein, fails to state a claim for which re-
lief can be granted and should, therefore, be dismissed.
                             SECOND AFFIRMATIVE DEFENSE
             (Laches, Waiver, Implied Consent, Implied License and/or Acquiescence)



                                                 13
B5005477.1
         Case 1:19-cv-10738-NMG Document 12 Filed 06/17/19 Page 14 of 17




         The Complaint, and each and every claim therein, is barred, in whole or in part, by the
doctrine of laches, waiver, implied consent, implied license, and/or acquiescence.
                               THIRD AFFIRMATIVE DEFENSE
                                              (Estoppel)
         The Complaint, and each and every claim therein, is barred, in whole or in part, by the
doctrine of estoppel.
                              FOURTH AFFIRMATIVE DEFENSE
                                          (Unclean Hands)
         The Complaint, and each and every claim therein, is barred under the doctrine of unclean
hands.
                                FIFTH AFFIRMATIVE DEFENSE
         The Complaint, and each and every claim therein, is barred because Defendant and its
agents, if any, acted reasonably and in good faith at all times material herein, based on all rele-
vant facts, law, and circumstances known by them at the time that they acted.
                               SIXTH AFFIRMATIVE DEFENSE
                                        (Failure to Mitigate)
         Plaintiff failed to properly mitigate its alleged damages and is therefore precluded from
recovering those alleged damages.
                             SEVENTH AFFIRMATIVE DEFENSE
                                            (No Damages)
         Plaintiff has not incurred any actual damages or injury as a result of Defendant’s alleged-
ly infringing activities.
                              EIGHTH AFFIRMATIVE DEFENSE
                                       (No Irreparable Harm)
         Plaintiff’s claims for injunctive relief and/or other equitable relief are barred because
Plaintiff cannot show that it has suffered or will suffer any irreparable harm from Defendant’s
actions and/or because it has an adequate and complete remedy at law.


                                                  14
B5005477.1
        Case 1:19-cv-10738-NMG Document 12 Filed 06/17/19 Page 15 of 17




                              NINTH AFFIRMATIVE DEFENSE
                                       (Non-Infringing Use)
        The Complaint, and each and every claim therein, is barred because Defendant’s use is
non-infringing.
                             TENTH AFFIRMATIVE DEFENSE
                                       (Duplicative Claims)
        Without admitting that the Complaint states a claim, any remedies are limited to a single
recovery for any alleged wrong to the extent that Plaintiff sought overlapping or duplicative
recovery pursuant to the various claims alleged against Defendant.
                          ELEVENTH AFFIRMATIVE DEFENSE
                                      (Additional Defenses)
        Defendant has not completed its investigation and discovery regarding the facts and
claims asserted by Plaintiff. Accordingly, Defendant reserves the right to assert such additional
affirmative defenses as necessary based on such ongoing investigation and discovery.


        WHEREFORE, Defendant prays for relief as follows:
        1.     That Plaintiff takes nothing by way of its Complaint and that judgment be entered
against Plaintiff and in favor of Defendant;
        2.     That the Complaint, and each and every purported claim for relief therein, be
dismissed, with prejudice and in its entirety;
        3.     That Defendant be awarded its costs of suit incurred in defending this action, in-
cluding attorneys’ fees and expenses; and
        4.     That Defendant be granted such other and further relief as the Court may deem
just and proper.




                                                 15
B5005477.1
        Case 1:19-cv-10738-NMG Document 12 Filed 06/17/19 Page 16 of 17



                                    JURY DEMAND

                 Defendant hereby demands a trial by jury on all issues so triable.

June 17, 2019                             NEW ENGLAND TREATMENT ACCESS, LLC


                                          By its attorneys,


                                          /s/ David A. Kluft
                                          David A. Kluft BBO No. 658970
                                          Joshua Jarvis BBO No. 663210
                                          FOLEY HOAG LLP
                                          Seaport West
                                          155 Seaport Boulevard
                                          Boston, MA 02210-2600
                                          617 832 1000
                                          dkluft@foleyhoag.com




                                            16
B5005477.1
        Case 1:19-cv-10738-NMG Document 12 Filed 06/17/19 Page 17 of 17



                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing has been served

on all known counsel of record via ECF on June 17, 2019.


                                                            /s/ David A. Kluft
                                                            David A. Kluft, Esq.




                                                17
B5005477.1
